     Case 1:21-cv-00825-LMM-LTW Document 1 Filed 02/26/21 Page 1 of 17




                  UNITED STATES DISTRICT COURT
                  NORTHERN DISTRICT OF GEORGIA
                        ATLANTA DIVISION


KAREN MCCARTHY,
                                               CIVIL ACTION FILE NO:
                 Plaintiff,
v.                                              ____________________

ATLANTA MARKET GP, INC. d/b/a
CARTERSVILLE MEDICAL                         JURY TRIAL DEMANDED
CENTER,

                 Defendant,

                                COMPLAINT

      Plaintiff Karen McCarthy (hereinafter “Plaintiff” or “Ms. McCarthy”) files

her Complaint against Defendant Atlanta Market GP, Inc. d/b/a Cartersville

Medical Center (hereinafter “Defendant” or “CMC”) based on the following

allegations:

                              INTRODUCTION



      This action is brought pursuant to the Americans with Disabilities Act of

1990, 42 U.S.C. § 12111 et seq. as amended (“ADA”), based on the CMC’s refusal

to provide a reasonable accommodation, discrimination on the basis of Ms.

McCarthy’s disability, and unlawful termination of Ms. McCarthy from CMC on
     Case 1:21-cv-00825-LMM-LTW Document 1 Filed 02/26/21 Page 2 of 17




the basis of her disability in violation of the ADA. Ms. McCarthy also asserts a

claim of retaliation in violation of the ADA due to being terminated after

complaining of disability discrimination.

                   PARTIES, JURISDICTION, AND VENUE



      Ms. McCarthy is a resident of the State of Georgia and submits herself to the

jurisdiction of this Court.



      CMC is a Delaware corporation licensed to do business in the State of

Georgia, and service of process may be effectuated through its registered agent, CT

Corporation System, at 289 S Culver Street, Lawrenceville, Georgia, 30046. CMC

is subject to the personal jurisdiction of this Court.



      At all times relevant to this suit, CMC employed more than fifteen (15)

employees and has been subject to mandates of the ADA not to discriminate in

employment decisions on the basis of disability.



      This Court has subject matter jurisdiction pursuant to 28 U.S.C. § 1331, as

the claims to be asserted raise federal questions of law.


                                          -2-
     Case 1:21-cv-00825-LMM-LTW Document 1 Filed 02/26/21 Page 3 of 17




      Pursuant to 28 U.S.C. § 1391, venue is proper because the acts, events, and

occurrences giving rise to Ms. McCarthy’s claims took place within this judicial

district and division.

                         ADMINISTRATIVE PROCEEDINGS



      On December 4, 2019, Ms. McCarthy filed a Charge of Discrimination

alleging disability discrimination and retaliation with the United States Equal

Employment Opportunity Commission (“EEOC”).



      Ms. McCarthy received a Notice of Right to Sue letter from the EEOC on

December 10, 2020. She properly filed this Complaint within ninety (90) days of

receiving the Right to Sue letter.

                             STATEMENT OF FACTS



      Ms. McCarthy was hired by CMC on March 16, 2016, as a Surgical

Technologist.



      Ms. McCarthy was responsible for preparing sterile field equipment and


                                      -3-
     Case 1:21-cv-00825-LMM-LTW Document 1 Filed 02/26/21 Page 4 of 17




instruments for surgeries being performed at CMC’s operating rooms.



        Ms. McCarthy worked for CMC for three (3) years and four (4) months.



        Ms. McCarthy suffers from degenerative disc disease, which affects several

major life activities, including, but not limited to, sleeping, walking, standing,

lifting, bending, and breathing.



        On July 2, 2018, Ms. McCarthy suffered an injury or aggravation to her

lower back and degenerative disc disease when lifting a heavy tray in an operating

room.



        CMC also regarded Ms. McCarthy as disabled, stating that Ms. McCarthy

had permanent limitations related to her disability it was unwilling to

accommodate during her termination meeting.



        After her work injury and aggravation of her disability on July 2, 2018, Ms.

McCarthy was placed on light duty restrictions by her physician.




                                        -4-
     Case 1:21-cv-00825-LMM-LTW Document 1 Filed 02/26/21 Page 5 of 17




      Ms. McCarthy was capable of performing the essential functions of her job

with reasonable accommodations, including, but not limited to, assistance lifting

heavier items, lifting limitations, the ability to sit and rest intermittently, and/or

assignment to surgical procedures with lower lifting requirements.



      After notifying CMC of her disability and work injury, Ms. McCarthy’s

supervisors regularly harassed Ms. McCarthy and subjected her to increased

scrutiny of her work performance, including belittling Ms. McCarthy for her

disability, demanding that she perform tasks outside of the limitations set by her

physician, and disciplining and harassing Ms. McCarthy for minor issues.



      On January 25, 2019, Ms. McCarthy’s workers’ compensation attorney sent

a letter to CMC notifying CMC of the ongoing discrimination and harassment in

violation of the ADA and requested CMC take action to correct the discriminatory

and harassing behavior. Attached as Exhibit 1 is a true and accurate copy of the

January 25, 2019 letter from Ms. McCarthy’s workers’ compensation attorney.



      CMC provided Ms. McCarthy with reasonable accommodations for more


                                        -5-
     Case 1:21-cv-00825-LMM-LTW Document 1 Filed 02/26/21 Page 6 of 17




than one (1) year, including compiling and preparing operating room (“OR”)

instrument trays and other work assignments in different departments.



      CMC’s ability to accommodate Ms. McCarthy’s work restrictions for more

than one (1) year demonstrated that the reasonable accommodations were not an

undue burden to CMC.



      In July 2019, Ms. McCarthy was assigned permanent lifting restrictions

related to her disability, including lifting restrictions of twenty-five (25) pounds

occasionally or twenty (20) pounds frequently.



      CMC’s job description for a Surgical Technologist recognizes that Surgical

Technologist can obtain assistance for lifting and even requires Surgical

Technologist to obtain assistance for lifting more than fifty (50) pounds.



      Thus, permitting assistance for lifting to Ms. McCarthy would not have been

an undue burden on CMC.



      Ms. McCarthy was able to perform all essential functions of her job with a


                                        -6-
     Case 1:21-cv-00825-LMM-LTW Document 1 Filed 02/26/21 Page 7 of 17




reasonable accommodation.



      CMC provided assistance with lifting and/or job assignments with lighter

lifting requirements to at least one (1) other Surgical Technologist.



      On July 26, 2019, CMC terminated Ms. McCarthy.



      CMC advised Ms. McCarthy that it would not accommodate her permanent

work restrictions.



      CMC refused to provide a reasonable accommodation to Ms. McCarthy

despite the fact that it provided a reasonable accommodation to Ms. McCarthy for

more than one (1) year and also provided similar accommodations to other

employees.



      CMC regarded Ms. McCarthy as disabled at the time of her termination.




                                         -7-
     Case 1:21-cv-00825-LMM-LTW Document 1 Filed 02/26/21 Page 8 of 17




          COUNT ONE – VIOLATION OF THE ADA FOR FAILURE TO
                         ACCOMMODATE



      Plaintiff incorporates by reference the prior paragraphs as if fully set forth

herein.



      CMC is an employer covered by the ADA, 42 U.S.C. § 12111, et seq.




      Ms. McCarthy was disabled and had record of her disability prior to her

unlawful and discriminatory termination.




      Ms. McCarthy’s disability affected several major life activities, including,

but not limited to, sleeping, walking, standing, lifting, bending, and breathing.




      CMC also regarded Ms. McCarthy as disabled at the time of her termination.




      Ms. McCarthy was qualified for the position of Surgical Technologist and

was capable of performing the essential functions of her job with a reasonable



                                         -8-
     Case 1:21-cv-00825-LMM-LTW Document 1 Filed 02/26/21 Page 9 of 17




accommodation.




      CMC refused to provide a reasonable accommodation to Ms. McCarthy.




      CMC provided a reasonable accommodation to Ms. McCarthy for more

than one (1) year, displaying that a continued reasonable accommodation would

not have been an undue burden on CMC.




      CMC also provided similar reasonable accommodations to at least one (1)

other Surgical Technologist.




      CMC terminated Ms. McCarthy because of her disability by refusing to

provide a reasonable accommodation in violation of the ADA.




      CMC’s conduct alleged in this Complaint is a willful and intentional

violation of the ADA.




                                     -9-
     Case 1:21-cv-00825-LMM-LTW Document 1 Filed 02/26/21 Page 10 of 17




      CMC’s unlawful actions caused Plaintiff to suffer lost income and benefits,

lost opportunities for advancement, lost retirement benefits, mental and emotional

distress, pain and suffering, costs and attorneys’ fees, and other damages for which

CMC is liable.




      As a direct and proximate result of CMC’s violation of the ADA, Ms.

McCarthy has been damaged and is entitled to all relief allowed by law, including

but not limited to actual damages, compensatory damages, punitive damages, and

attorneys’ fees and costs.


          COUNT TWO – DISCRIMINATION IN VIOLATION OF THE ADA,
                        42 U.S.C. § 12111 et seq.



      Plaintiff incorporates by reference the prior paragraphs as if fully set forth

herein.



      CMC is an employer covered by the ADA, 42 U.S.C. § 12111, et seq.




                                       - 10 -
     Case 1:21-cv-00825-LMM-LTW Document 1 Filed 02/26/21 Page 11 of 17




      Ms. McCarthy was disabled and had record of her disability prior to her

unlawful and discriminatory termination.




      Ms. McCarthy’s disability affected several major life activities, including,

but not limited to, sleeping, walking, standing, lifting, bending, and breathing.




      CMC also regarded Ms. McCarthy as disabled at the time of her termination.




      Ms. McCarthy was qualified for the position of Surgical Technologist and

was capable of performing the essential functions of her job with a reasonable

accommodation.




      CMC discriminated against Ms. McCarthy and ultimately terminated her

because of her disability, in violation of the ADA which prohibits discrimination in

employment on the basis of disability.




                                         - 11 -
     Case 1:21-cv-00825-LMM-LTW Document 1 Filed 02/26/21 Page 12 of 17




      CMC’s conduct alleged in this Complaint is a willful and intentional

violation of the ADA.



      CMC’s unlawful actions caused Plaintiff to suffer lost income and benefits,

lost opportunities for advancement, lost retirement benefits, mental and emotional

distress, pain and suffering, costs and attorneys’ fees, and other damages for which

CMC is liable.




      As a direct and proximate result of CMC’s violation of the ADA, Ms.

McCarthy has been damaged and is entitled to all relief allowed by law, including

but not limited to actual damages, compensatory damages, punitive damages, and

attorneys’ fees and costs.


                 COUNT THREE – RETALIATION UNDER THE ADA



      Plaintiff incorporates by reference the prior paragraphs as if fully set forth

herein.




                                       - 12 -
    Case 1:21-cv-00825-LMM-LTW Document 1 Filed 02/26/21 Page 13 of 17




      Ms. McCarthy notified CMC of her disability after her work injury on July

2, 2018.




      Ms. McCarthy’s supervisors subsequently discriminated against and

harassed Ms. McCarthy by belittling her about her disability, demanding work that

was outside of her physician’s recommendations, and subjecting her to increased

scrutiny of her work performance and disciplinary actions.




      Ms. McCarthy’s workers’ compensation attorney notified CMC of the

discriminatory treatment and harassment on January 25, 2019.



      Ms. McCarthy’s aforementioned actions constituted protected activities

under the ADA.



      Ms. McCarthy was subsequently terminated on July 26, 2019.



      CMC retaliated against Ms. McCarthy by terminating her for complaining of



                                      - 13 -
    Case 1:21-cv-00825-LMM-LTW Document 1 Filed 02/26/21 Page 14 of 17




disability discrimination and harassment in violation of the ADA, 42 U.S.C. §

12203(a).



       CMC’s violations of the ADA were unlawful retaliation in violation of the

ADA.



       As a direct and proximate result of CMC’s retaliation, Ms. McCarthy has

been damaged and is entitled to all relief allowed by law, including, but not limited

to, actual damages, compensatory damages, punitive damages, and attorneys’ fees

and costs.

       WHEREFORE, Plaintiff respectfully prays that this Court:

       (a) Find that Defendant violated the ADA as described above;

       (b) Order Defendant to make Plaintiff whole by reinstatement to her former

          position, with full back pay and other benefits and expenses in amounts

          to be proven at trial;

       (c) If reinstatement is not feasible under the circumstances, grant Plaintiff

          front pay, including lost future benefits including medical insurance and

          retirement benefits;

       (d) Grant Plaintiff compensatory damages in amounts to be proven at trial;


                                       - 14 -
   Case 1:21-cv-00825-LMM-LTW Document 1 Filed 02/26/21 Page 15 of 17




    (e) Grant Plaintiff punitive damages in amounts to be proven at trial;

    (f) Grant Plaintiff pre-judgment interest on all lost wages;

    (g) Grant Plaintiff her costs in this action and reasonable attorney’s fees as

       provided by law;

    (h) Grant a trial by jury on all issues properly submitted to a jury; and

    (i) Grant such additional relief as this Court deems proper and just.



    Respectfully submitted, this 26th day of February 2021.

PARKS, CHESIN & WALBERT, P.C.                  /s/ J. Daniel Cole
75 14th Street, 26th Floor                     J. Daniel Cole
Atlanta, GA 30309                              Georgia Bar No. 450675
Telephone: 404-873-8000                        Email: dcole@pcwlawfirm.com
Fax: 404-873-8050


COUNSEL FOR PLAINTIFF




                                      - 15 -
      Case 1:21-cv-00825-LMM-LTW Document 1 Filed 02/26/21 Page 16 of 17
Attorneys At Law                                                          3834 Austell Rd, S.W.
Phone (404) 382-7439                                                         Suite A (Top Floor)
Facsimile: (404) 962-6624                                               Marietta, Georgia 30008



                            CEASE AND DESIST LETTER:
                  DISCRIMINATION, HARASSMENT, AND RETALIATION

                                        January 25, 2019

                                         **VIA E-MAIL **

ATLANTA MARKET GP. INC.
CARTERSVILLE MEDICAL CENTER
c/o Michele Parker-Smith
Vice-President, Human Resources
Michele.parkersmith@hcahealthcare.com


Re:        Karen McCarthy
           Employer: Cartersville Medical Center
           D/A: 7-2-18

Dear Human Resources:

        I have been retained to represent Ms. McCarthy for the workplace accident which
occurred on 7-2-18 involving her low back. A copy of my WC-14 Notice of Claim is attached for
your convenience. As you may know, Ms. McCarthy’s work accident has caused a permanent
injury and disability involving her spine. She is currently receiving care and working light duty
under the treating physician’s work restrictions. That is, my client has been released to light
duty work at Cartersville Medical Center and is doing her very best. My client takes great pride
in her work and wishes to continue working.

        In discussing her case, I was very distressed to learn that her immediate supervisors and
the lower levels of human resources have begun to systematically discriminate and retaliate
against Ms. McCarthy due to her disability, and the need for her to continue receiving medical
care for her work accident.

        Notably, Allison Holbrook has created a hostile work environment, belittling Ms.
McCarthy for her ongoing injury and disability on multiple occasions. Ms. Holbrook has also
placed Ms. McCarthy in “no win” situations, asking Ms. McCarthy to exceed her work
restrictions, knowing that Ms. McCarthy would be unable to do so. Ms. Holbrook is the
operating room manager. Likewise, Lisa Ponder, has begun disciplining and harassing Ms.
McCarthy for pretextual reasons. Apparently, someone in management also began recording
Ms. McCarthy’s phone calls at work. All of these people have belittled Ms. McCarthy and treated
her as persona non grata due to her disability. This is not a complete list of the discrimination,
but just a few examples, and we urge you to investigate. We are requesting your assistance to
stop this behavior.


Page | 1
      Case 1:21-cv-00825-LMM-LTW Document 1 Filed 02/26/21 Page 17 of 17
Attorneys At Law                                                           3834 Austell Rd, S.W.
Phone (404) 382-7439                                                          Suite A (Top Floor)
Facsimile: (404) 962-6624                                                Marietta, Georgia 30008



       Ms. McCarthy loves her job, but she is being improperly disciplined and pressured to
quit because of her work accident and disability. Under the Americans with Disabilities Act of
1990, as amended (the “ADA” and “ADAAA”), disability discrimination and harassment is
unlawful. Likewise, retaliation for the assertion of rights under the ADA is unlawful.

        We hereby formally request that the Employer engage in the interactive process, as
required by law, to provide Ms. McCarthy with reasonable accommodations and to investigate
this discrimination. Please notify me within five (5) business days of the date and time when
Cartersville Medical Center, will begin the interactive process with my client, and all individuals
who intend to participate in this process. If I have not received any response from you or the
Employer within five (5) business days, then I will be forced to conclude that the Employer is
unwilling to make any accommodations for my client’s disabilities or to investigate these
matters.

       After the reasonable accommodations meeting, please provide us with a list of all
accommodations which the Employer can make available for Ms. McCarthy. If you contend that
any requested accommodations pose an undue hardship, then please identify those
accommodations and the reason(s) why you believe that the accommodations cannot be
provided.

        Further, please direct the Employer to cease all discrimination, retaliation, and
harassment related to Ms. McCarthy’s work injuries, disabilities, and workers’ compensation
claim. It is unreasonable for the Employer to punish Ms. McCarthy for being permanently hurt
at work. Ms. McCarthy reserves the right to report any discrimination, harassment, or
retaliation due to her disability, or any other protected class status, to the Equal Employment
Opportunity Commission.


                                                            Please conduct yourself accordingly,

                                                            Tristan Morrison [E-signed]
                                                            _______________________
                                                            Tristan B. Morrison
                                                            Morrison & Hughes Law, LLC
                                                            Attorney for the Employee/Claimant




Page | 2
